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                                CERTIFICATE OF SERVICE

       A copy of this motion, its proposed order, and the United States’ forthcoming response to

the defendant’s pending motion for reconsideration of the detention order will be served on counsel

for defendant Brian Mock by electronic mail on May 20, 2022.



                                                     /s/ Michael M. Gordon__________________
                                                     Michael M. Gordon
                                                     Assistant United States Attorney
